Case 2:O4-cv-O2621-SHI\/|-dkv Document 25 Filed 08/22/05 Page 1 of 2 Page|D 26

 

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Plaintiff,

QUENTON WHITE, et al.,

Defendants.

 

ORDER DENYING MOTION TO AMEND SCHEDULING ORDER

 

Before the court is the motion of the defendants, Quenton
White, Reuben Hodge, and Charles Banks filed August 17, 2005. to
extend the deadline for taking depositions from\August 16, 2005, to
September 16, 2004. The motion was referred to the United States
Magistrate Judqe for determination.

With the motion, the defendants failed to file a certificate
of consultation with counsel for the opposing party as required by
Local Rule 11(a)(1)(B). A. motion must be accompanied by a
certification that the movant has in good faith conferred or
attempted to confer with the other affected parties in an effort to
resolve the dispute without court action. Local Rule ll(a)(l)(B)
provides that failure to file the certificate "may be deemed good
grounds for denying the motion." In addition, the defendants have
failed to filed a proposed order.

Therefore, the defendant’s motion to extend the deposition
deadline is denied, without\ prejudice, for failure to file a
certificate of consultation as required under Local Rule
ll(a)(l)(B), and failure to file a proposed order.

IT IS SO ORDERED this 19th day of August, 2005.

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DI K. V'ESCOVO

UNITED STATES MAGISTRATE J'UDGE

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with Rll|e 55 and/or 32(b) FRCrP on w

 

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This notice confirms a copy of the document docketed as number 25 in
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ESSEE

 

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US DISTRICT COURT

